Case 5:17-cv-01141-JGB-SP Document 70 Filed 07/22/19 Page 1 of 2 Page ID #:566



   1

   2

   3
                                                                    JS-6
   4

   5

   6

   7

   8                        UNITED STATES DISTRICT COURT
   9           CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
  10   SOBOBA BAND OF LUISEÑO                   Case NO. EDCV17-01141-JGB (SP)
       INDIANS, a federally-recognized          Judge: Hon. Jesus G. Bernal
  11   Indian Tribe, on its own behalf and on
       behalf of its individual Citizens,
  12                                            ORDER TO STAY ACTION AND
                              Plaintiff,        MAINTAIN JURISDICTION TO
  13                                            ENFORCE SETTLEMENT
             vs.                                AGREEMENT
  14
       COUNTY OF RIVERSIDE,
  15   CALIFORNIA,
  16                     Defendant.
  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                1
             ORDER TO DISMISS ACTION AND RETAIN JURISDICTION TO ENFORCE SETTLEMENT
Case 5:17-cv-01141-JGB-SP Document 70 Filed 07/22/19 Page 2 of 2 Page ID #:567



   1       ORDER TO STAY ACTION AND MAINTAIN JURISDICTION TO
                   ENFORCE SETTLEMENT AGREEMENT
   2

   3         The Court, having considered the Stipulation to Stay Action and Request to
   4   Retain Jurisdiction to Enforce Settlement Agreement and good cause appearing,
   5   IT IS HEREBY ORDERED
   6         1.    The action by Plaintiff SOBOBA BAND OF LUISEÑO INDIANS
   7   against Defendant COUNTY OF RIVERSIDE is hereby stayed;
   8         2.    The Court shall maintain jurisdiction to enforce the terms of the
   9   Settlement Agreement for five (5) years from full execution of the Agreement
  10   which occurred on July 2, 2019.
  11

  12   IT IS SO ORDERED.
  13

  14   Dated: July 22, 2019           ___________________________________
                                           HONORABLE JESUS G. BERNAL
  15
                                           UNITED STATES DISTRICT JUDGE
  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                               2
             ORDER TO DISMISS ACTION AND RETAIN JURISDICTION TO ENFORCE SETTLEMENT
